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  The relief described hereinbelow is SO ORDERED.

  Signed June 05, 2020.


                                                     __________________________________
                                                                  Ronald B. King
                                                       Chief United States Bankruptcy Judge




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION
  In re:                                         §        Chapter 11
                                                 §
  KrisJenn Ranch, LLC                            §         Case No. 20-50805-rbk
  KrisJenn Ranch, LLC-Series Uvalde Ranch        §         Case No. 20-51083-rbk
  KrisJenn Ranch, LLC-Series Pipeline ROW        §         Case No. 20-51084-rbk
                                                 §
                           Debtors.              §

                    SUA SPONTE ORDER FOR JOINT ADMINISTRATION

           On April 29, 2020, the creditors DMA Properties, Inc. and Longbranch Energy, LP filed

  an Amended Motion to Sever or Dismiss (Dkt # 22) (the "Motion"). On May 21, 2020, the Court

  granted the Motion and severed the cases, and sua sponte ordered that the three cases be jointly

  administered upon the filing of amended petitions and payment of the required filing fees. (Dkt

  # 47.) On June 5, 2020, KrisJenn Ranch, LLC-Ser_ies Uvalde Ranch and KrisJenn Ranch, LLC­

  Series Pipeline ROW filed their petition and schedules and paid the required filing fees. The

  Court, after due deliberation and sufficient cause appearing, finds that the chapter 11 cases of

  KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch, and KrisJenn Ranch,

  LLC-Series Pipeline ROW be jointly administered in accordance with the terms of this Order, as

  follows:
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          10.      Debtors shall file a master service list in In re KrisJenn Ranch, LLC, Case No. 20-

 50805-rbk that includes all creditors, persons filing Notices of Appearances, and all parties-in­

 interest in all of the Debtors' jointly administered cases for future noticing requirements.

           11.     This Order shall be served by the Debtors on interested parties and all parties

 included on the master service list.

                                                   ###

  Order Prepared by:

  Shane P. Tobin
  Trial Attorney for the United States Trustee
  903 San Jacinto Ave., Room 230
  Austin, Texas 7870 I
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